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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA

NORFOLK DIVISION

UNITED STATES OF AMERICA )
) CRIMINAL NO. 2:19cr47

Vv. )

)

DAVID ALCORN, )

)

AGHEE WILLIAM SMITH I, & )

)

THOMAS L. BARNETT, )

)

Defendants. )

DECLARATION OF INSPECTOR JASON W. THOMASSON

I, Jason W. Thomasson, do hereby affirm:

1. I am a Postal Inspector with the United States Postal Inspection Service. I have
been a Postal Inspector for almost ten years.

2. I am one of the case agents assigned to the investigation and prosecution of
defendants David Alcorn, Aghee William Smith II, and Thomas L. Barnett (the “defendants”’).
As such, I have been involved with contacting the government’s witnesses, serving subpoenas on
them, interviewing them, and assisting in preparing them for trial.

3, The following information is either, as noted, based on my personal knowledge or
my discussions with the other case agents involved in the investigation and prosecution.

4. On September 28, 2021, Special Agent Andrew Bowers with the Internal
Revenue Service, Criminal Investigations, contacted witness V.H. by phone.

5. V.H. told S/A Bowers that she lives in Antelope, California, and is 73 years old.

She lives with her husband, S.H., who is legally blind and in the early stages of dementia.

 
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6. The government informed V.H. that the government was serving her with a
subpoena to attend and testify at the November 16, 2021, trial of the defendants in Norfolk,
Virginia. V.H. stated she was not able to travel to Norfolk for the trial. She is the sole caretaker
of her husband, S.H., and there is no one else available to assist. In addition, in part due to her
advanced age, she was unable to travel to Norfolk during the COVID-19 pandemic due to the
increased risk of serious health complications she would face if infected.

7. On November 4, 2021, I personally met V.H. I can verify that S.H. appeared to
have vision problems, used a cane to assist him with walking, and appeared unable to care for
himself without V.H.’s assistance.

8. V.H. was deposed in Sacramento, California, on November 5, 2021. V.H. was
unable to drive to the deposition. Therefore, law enforcement picked her and S.H. up at their
residence and drove them to the U.S. Attorney’s Office in Sacramento for the deposition.

9. Defendant Aghee William Smith II and his attorney were physically present and
participated in the deposition. The other defendants participated virtually through counsel.

10. Lawenforcement drove V.H. and S.H. back to their residence after the conclusion
of the deposition.

11. On September 23, 2021, Special Agent Jennifer Collins with the Federal Bureau
of Investigation contacted witness S.B. by phone.

12, S.B. told S/A Collins that she lives in Citrus Heights, California, and is 81 years
old. She medically retired from working at a telephone company due to a complete mental
breakdown. She continues to have extreme, crippling anxiety that makes her unable to travel.

13. SA Collins informed S.B. that the government was serving her with a subpoena to

attend and testify at the November 16, 2021, trial of the defendants in Norfolk, Virginia. S.B.

 
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stated she was not able to travel to Norfolk for the trial. She is 81 years. Further, her extreme
anxiety prevents her from traveling. In addition, in part due to her advanced age, she was unable
to travel to Norfolk during the COVID-19 pandemic due to the increased risk of serious health
complications she would face if infected.

14. On November 5, 2021, I personally met S.B. I can verify that S.B. has limited
mobility and appeared extremely anxious.

15. S.B. was deposed in Sacramento, California, on November 5, 2021. S.B. was
unable to drive to the deposition. Therefore, law enforcement picked S.B. up at her residence
and drove her to the U.S. Attorney’s Office in Sacramento for the deposition.

16. Defendant Aghee William Smith II and his attorney were physically present and
participated in the deposition. The other defendants participated virtually through counsel.

17. Lawenforcement drove S.B. back to her residence after the conclusion of the
deposition.

18. On October 22, 2021, S/A Bowers and Assistant United States Attorney Elizabeth
M. Yusi contacted witness K.S. via the telephone.

19. KS. lives in El Dorado Hills, California, and is 64 years old.

20. S/A Bowers informed K.S. that the government was serving him with a subpoena
to attend and testify at the November 16, 2021, trial of the defendants in Norfolk, Virginia. K.S.
stated he was not able to travel to Norfolk for the trial. He is 64 years old and due to his age is in
a higher risk category should he contract COVID-19. He also suffers from extreme vertigo
which prevents him from flying. In addition, his wife recently was in an accident and was
severely injured. He is the sole caretaker of his wife at this time, and there is no one else

available to assist. For these reasons, K.S. is unable to travel to Norfolk.

 
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21. K.S. was deposed in Sacramento, California, on November 5, 2021.
22. Defendant Aghee William Smith II and his attorney were physically present and

participated in the deposition. The other defendants participated virtually through counsel.

I declare the previous information to be true to the best of my knowledge and belief.

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Jason W. Thomasson
Postal Inspector
United States Postal Inspection Service

 
